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 UNITED STATES DISTRICT COURT                    imprisonment under the guidelines was 151
 SOUTHERN DISTRICT OF GEORGIA                    to 188 months.
     STATESBORO DIVISION
                                                     On September 16, 2010, this Court
UNITED STATES OF AMERICA                         sentenced Sikes to 135 months
                                                 imprisonment. See Doc. 796. In imposing
v.                     6:09-cr-48                this sentence, the Court departed below the
                                                 applicable advisory guideline range for
RHETT MATTHEW SIKES                              imprisonment based on a motion for
                                                 downward departure filed by the
                  ORDER                          Government pursuant to U.S.S.G. § 5K1.1.
                                                 Sikes did not appeal.
I.     INTRODUCTION
   Before the Court is Defendant Rhett               On January 24, 2011, this Court granted
Matthew Sikes’s (“Sikes”) “Motion for            the Government’s Rule 35(b) motion and
Court’s Resolution, due to Government’s          reduced Sikes’s sentence to 129 months.
                                                 See Doc. 916. On April 9, 2012, this Court
Breach of Agreement.” See Doc. 1024.
                                                 denied Sikes’s motion to correct his
II.    BACKGROUND                                sentence. See Doc. 1014; see also Doc.
    A federal grand jury indicted Sikes for      1009. Sikes filed the present motion on
conspiracy to distribute fifty grams or more     June 14, 2012. See Doc. 1024.
of cocaine base, five kilograms or more of
                                                 III.   ANALYSIS
cocaine hydrochloride, 1000 kilograms or
more of marijuana, and ecstasy in violation         Sikes argues that the Government
of 21 U.S.C. § 846. See Doc. 477. Sikes          breached his plea agreement, in which the
pled guilty to the lesser-included offense of    Government promised to “[n]ot seek any
conspiracy to distribute unspecified             sentencing enhancements pursuant to 21
quantities of the controlled substances. See     U.S.C. § 851.” See id. at 3; Doc. 804 at 3.
Docs. 604; 804.                                      A defendant who commits a controlled
    A probation officer prepared a               substance offense is subject to a specified
presentence investigation report as required     maximum prison term. If the defendant
by 18 U.S.C. § 3552 and Federal Rule of          commits such an offense after a prior
Criminal Procedure 32. A defendant’s             conviction for a felony drug offense has
recommended sentence under the advisory          become final, the maximum prison term
guidelines is the product of his total offense   increases. See 21 U.S.C. § 841. The
level and criminal history. See U.S.S.G. §       increased penalties apply only if the
1131.1. Sikes’s base offense level increased     Government timely files an Information
from 26 to 32 because he qualified as a          pursuant to 21 U.S.C. § 851.
career offender under U.S.S.G. § 4131.1.            Here, Sikes pled guilty to conspiracy to
With a total offense level of 29 and a           distribute unspecified quantities of
criminal history of VI, Sikes’s range of         controlled substances. He faced a maximum
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prison term of twenty years. If the                      Second, the probation officer, not the
Government had filed a § 851 Information            Government, sought to classify Sikes as a
showing that Sikes had a prior felony drug          career offender. The Government had no
conviction, his maximum sentence would              control over the probation officer’s decision
have increased to thirty years. See 21              to classify Sikes as a career offender.
U.S.C. § 841(b)(1)(C).                              Accordingly, the plea agreement informed
                                                    Sikes that the probation office would
    Yet, the Government did not file a § 851
                                                    prepare a presentence investigation report in
Information. The probation officer correctly
                                                    which it would consider all of Sikes’s
indicated that Sikes’s maximum prison term
                                                    conduct related to the offense and that the
was twenty years, and this Court adopted the
                                                    Court would consider the report in
presentence investigation report without
                                                    determining Sikes’s sentence. See Doc. 804
revision. See Doc. 796. Because the
                                                    at 8-9. Moreover, the agreement stated:
Government did not file a § 851 Information
                                                    “The defendant understands that the offense
to increase Sikes’s maximum prison term,
                                                    level and criminal history category
the Government did not breach the plea
                                                    determined by the United States Probation
agreement.
                                                    Office and the Court may differ from that
   Sikes also argues that the Government            estimated or projected by defendant’s
breached the plea agreement when the                counsel or the United States Attorney.” See
probation officer classified him as a career        id. at 9.
offender and increased his offense level
                                                        In conclusion, the probation officer’s
pursuant to U.S.S.G. § 4B1.1. See Doc.
                                                    classification of Sikes as a career offender
1024 at 4.
                                                    did not breach the plea agreement provision
    First, the Government did not promise           forbidding the Government from seeking a §
that it would not seek a career offender            851 enhancement. Sikes’s motion is
designation. Section 851 is separate and            DENIED.
distinct from the career offender
                                                    IV. CONCLUSION
designation. Cf. Young v. United States, 936
F.2d 533, 536 (11th Cir. 1991) (“[T]he                 Sikes’s “Motion for Court’s Resolution,
Government does not have to follow the              due to Government’s Breach of Agreement,”
notice requirements of section 851 in order         see Doc. 1024, is DENIED.
to use a defendant’s prior convictions to
enhance his sentence under the Guidelines
                                                    This 20th day of June 2012.
as a career offender, so long as the enhanced
sentence still falls within the permissible             )               iry:
statutory range.”). The Government
retained the right “to bring all sentencing          R AVANT EDENFIELØ, RIDGE
facts to the attention” of this Court. See           UN1TBD STATES DISTRICT COURr
Doc. 804 at 8.                                       SOUTHERN DISTRICT OF GEORGIA




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